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         Exhibit 2
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                            MEMORANDUM OF INTERVIEW

CASE NUMBER                             2204323-MF

PERSON INTERVIEWED                      Daniel Edlin

PLACE OF INTERVIEW                      Videoconference Call

DATE OF INTERVIEW                       August 20, 2021

TIME OF INTERVIEW                       1:03 P.M.


On August 20, 2021, Daniel Edlin (EDLIN) was interviewed by videoconference call in
preparation for possible trial testimony. Assistant United States Attorneys John Bostic, Robert
Leach, and Jeffrey Schenk conducted the interview. Ismail Ramsey and Bob Sacks were present
as EDLIN's counsel. The following is a summary of the statements made during the interview.

EDLIN graduated from Duke University with a degree in public policy and a markets and
management certificate in 2009. In 2019, he obtained his MBA from UCLA. The whole of
EDLIN's science-based learning in college consisted on an introductory chemistry course and an
astronomy course. EDLIN has been employed by Genentech for the previous two years as a
marketing manager.

EDLIN was employed by Telsey Advisory Group in New York City from 2009 to 2011. EDLIN
first heard of Theranos from his friend Christian Holmes (CHRISTIAN) who recruited him for
the company. EDLIN did not know much of Theranos at the time other than it was a blood
testing company that took samples by fmgerstick, and that there was a partnership with
Walgreens. EDLIN viewed working for Theranos as an exciting opportunity to move into the
start-up environment. EDLIN had initial job discussions with CHRISTIAN. He then travelled to
Palo Alto, California for a group interview and individual interviews with Elizabeth Holmes
(HOLMES) and Sunny Balwani (BALWANI). He did not have any specific recollection of the
interview discussions other than both HOLMES and BALWANI told him Theranos held a lot of
potential and opportunity for EDLIN to grow and develop. EDLIN started at Theranos in
September 2011 as a senior product manager, one member of a team of product managers.
EDLIN reported directly to CHRISTIAN initially. After approximately six months, he started
working more closely with HOLMES on projects she lead. EDLIN helped manage some of
Theranos' other relationships, including the Department of Defense (DOD), pharmaceutical
companies, and research entities. EDLIN reported directly to HOLMES starting in 2014.

EDLIN's main job responsibility was to operationalize Theranos' business partnership with
Walgreens. Theranos wanted to create a calm, soothing environment for customers and EDLIN's
work focused on the customer experience of the lab test process, including the technology and
software involved in that experience. EDLIN helped select pilot locations, determined space
requirements for Theranos Wellness Centers, and set logistics, such as securing couriers.
EDLIN was also involved with teaching WAG technicians how to use the Theranos service center
software, how to store blood samples, and how to properly execute the fingerstick collection
process, which had been developed internally by Theranos. EDLIN worked with Walgreens




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retail pharmacy staff, including Kim Romanski, "Nimesh," "Reena," Jay Rosan, and Walgreens
technicians. EDLIN worked with BALWANI more than HOLMES for the Walgreens project.

A portion of the Walgreens training also taught the technicians how to deal with patients, and
specifically what Theranos' technology could do for a patient. Many of those technicians were
excited for the potential of Theranos, namely the fingerstick draw, price, access to testing, and
access to personal health information. Positive feedback was shared with EDLIN and he
remembered quotes attributed to patients that had problems with conventional testing. The
training for Walgreens technicians was important enough that HOLMES and BALWANI would
have approved of the training plan, even though EDLIN had no specific recollection of either
HOLMES or BALWANI specifically approving it. Daniel Young (YOUNG) may have been
involved with the Walgreens training, too.

EDLIN was not responsible for taking customer calls or handling customer emails directly,
however, he had access to Theranos' public email account. When he saw a customer complaint,
he forwarded it to the responsible person. CHRISTIAN and the lab director handled customer
complaints. There was a customer service group in Palo Alto. He did not know if there was a
similar group in Arizona. He did not know where customer telephone calls were routed.

From conversations with HOLMES and BALWANI, EDLIN knew he could not say anything
about Theranos to any external party, even his family, without prior approval. Information was
siloed internally at Theranos, too. HOLMES and BALWANI told him Theranos' work was
highly confidential and was sought after by competitors. He was instructed to be secretive.
EDLIN specifically remembered ongoing discussions before the Walgreens launch between the
product management group, HOLMES, and BALWANI. He was directly told to not share their
strategy discussions with anyone internally. EDLIN believed he was told to keep this information
as, "need to know."

EDLIN resigned from Theranos because he wanted to attend business school and because he saw
no future for himself at the company. His decision to leave was not easy. EDLIN had spent a
significant amount of time working at Theranos, sometimes working early mornings and late
evenings. It became his entire life. He tried his best to help, but as he learned more about the
company, EDLIN became disillusioned. He hoped for Theranos' success, but that never came
true. EDLIN said it was hard to see the truth while on the inside.

EDLIN did not know what devices Theranos used to test patient blood when the service launched
with Walgreens. In 2016, he met with Theranos' scientific and technical boards where a variety
of topics were discussed. He learned at that time about Theranos' use of LDT's [laboratory
developed tests] and third-party devices.

In or around 2012, EDLIN was asked to support a research project with the ABA [American Burn
Association]. This was the first time EDLIN learned about Theranos' Edison 3.0 devices which
had been sent to the study's research sites. EDLIN participated in conversations and meetings
with DOD officials as part of this study.

In 2013, Edison 3.0 and 3.5 devices were black and white in color, and were smaller and weighed
less than Theranos' next-gen devices. The Edison devices could only run immunoassays. The
process to run an assay on an Edison stated when blood was collected into a capillary tube, which
was then put into a cartridge. Each cartridge could run from one to four tests. Theranos' next-
gen devices were those devices that were being developed at Theranos. Edison devices were not


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next-gen devices. The next-gen devices came in three iterations: A tower version that could run
multiple cartridges at once, a monobay which ran one cartridge at a time, and the 4s which was a
smaller version of the monobay. The next-gen devices could run any type of tests, including
immunoassays. EDLIN learned about Theranos' devices and their capabilities from HOLMES.

As the DOD projects developed, EDLIN said some of his contacts believed they were going to
receive devices like the Edison. HOLMES told EDLIN the DOD was going to get different
devices.

EDLIN did not know what devices were being used for clinical testing in 2013 but he learned t
their use for patient testing in 2016. EDLIN knew venous blood samples were run on third-party
devices but could not remember when he learned that. EDLIN did not seek out information he
did not need to know.

EDLIN was the main person at Theranos that coordinated tours for VIP's. He gave tours of
Theranos' headquarters, manufacturing, and the research and development labs. He never gave a
tour of Theranos' CLIA lab. HOLMES told EDLIN where he could and could not take VIP's.

In 2013, around the time of the Walgreens launch, HOLMES asked EDLIN to work with Daniel
YOUNG and other Theranos engineers to setup a room with minilab devices in preparation for a
tour by Walgreens executives. The room was near Theranos' CLIA lab. HOLMES wanted ten to
fifteen minilab devices in the room with their user interfaces turned on. She also wanted the
devices to be able to accept a cartridge. The room was setup per HOLMES' instructions and
remained that way for a few days after the tour. EDLIN did not participate in the tour and did not
know if the Walgreens executives ever saw the room. A few days after the tour, EDLIN asked
HOLMES if the room should remain setup and she told him to move the devices out. EDLIN did
not know what the room looked like before he and YOUNG placed the minilab devices in it, and
he also did not remember if anyone could have seen any third-party devices while in room.

The CLIA lab was closed to outsider access.

From 2012 on, EDLIN was responsible for preparing rooms with Theranos devices as frequently
as once per week, and sometimes only once every few weeks. He was sometimes present for
these meetings.

The "null protocol" was an application on a Theranos device that did not show an error if a
cartridge was inserted into a machine and an error occurred.

EDLIN reviewed document THPFM0002270863 to THPFM0002270864 and said the people
included on this email were the heads of the science and software teams. The document
referenced the null protocol and the "demo app." EDLIN believed the demo app ran the null
protocol and other protocols, and that the demo app and null protocol could be run together or
independently from each other. At the time, if a nanotainer loaded with a sample was put into a
cartridge it had to be put in very tightly for the device to work properly. To an outside observer,
the process could look like a "struggle." Under the null protocol, if a sample was not tested and
there was no blood in the cartridge, the nanotainer did not have to be placed into the cartridge as
tightly. The null protocol was part of the process to avoid seeing the "struggle." If running the
null protocol, the outside observer would see the device interface, the device door open, the
cartridge placed into the device, the cartridge retracted inside of the device, and then the device
interface display "processing." This loading and initialization process looked identical to the



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process when an actual sample was run. EDLIN noted the null protocol did not terminate on its
own and the device would continually say either, "initializing" or "processing." He did not know
what happened if no cartridge was placed into the device under the null protocol. Overall, the
null protocol helped show the observer what the device looked like while operating and prevented
any errors from being displayed to that observer.

The demo app was similar to the null protocol in that it would not display any errors on the
device's screen. The demo app, whether run with an actual sample or not, returned no errors.
When run with a sample, the demo app ran an analysis and returned results. The demo app had a
good customer design which matched the smartphone app and the app of the 3.0 devices. Prior
application's interface looked similar to a Windows desktop. The goals of the demo app and null
protocol were the same and were used when someone important was watching.

In 2013, EDLIN did not know if any next-gen devices were used for clinical testing. As of the
date of the interview, EDLIN said the tower-version of the minilab had not been used for clinical
testing. He did not know if the other versions had been, however. EDLIN said it was not part of
his job to know about Theranos' CLIA lab.

For some time, device availability was an issue. As time progressed, more supplies and resources
became available.

Edison devices were placed into a room for a demo to run a blood sample, and next-gen devices
still in the R&D phase were also present. During a meeting with Walgreens officials before the
launch, devices were present in the room, but the samples taken were placed into a container and
brought to one of Theranos' labs.

EDLIN reviewed document TS-0375316 and confirmed the demo app used in combination with
the null protocol would prevent an observer from seeing any error messages.

EDLIN reviewed document THPFM0001578878 and stated BALWANI expressed his opinion of
device preferences for a demo. BALWANI had experience with software and while EDLIN did
not know the breadth of BALWANI's scientific knowledge, he believed BALWANI had no
scientific training. EDLIN had no first-hand knowledge of BALWANI's role with R&D nor with
the CLIA lab, but he understood both HOLMES and BALWANI managed those areas. Both
BALWANI and HOLMES had the right to control technical decisions within the company.
EDLIN copied Samartha Anekal (ANEKAL) to keep him informed of technical issues regarding
the analyzers' use during demonstrations.

EDLIN reviewed document THPFM0000028301 to THPFM0000028303. He coordinated
demos, ensured the correct devices had been setup, and had people stand-by to speed up the
process. EDLIN sometimes took blood samples by fingerstick, but this process eventually
transitioned to phlebotomists. The collected blood sample was placed into a cartridge and then
into a device for analysis. He described Theranos devices as fully functioning computers and said
he sometimes saw them connected to laptop computers. Software errors did not happen often
while the devices were running and would have represented the worst-case scenario. The null
protocol gave Theranos flexibility when running a demo in case an error happened.

EDLIN reviewed document THPFM0000028223 to THPFM0000028237. EDLIN wrote, "It's
already been running for 1 hr 15 mins and has been stuck on 99% for about 8 minutes." EDLIN
had a recollection of this statement and thought either Sharada Sivaraman (SIVARAMAN) or



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Surekha Gangakhedkar (GANGAKHEDKAR) told him the assay run time was shorter than what
it turned out to be. His understanding was later corrected. Further on in the document, EDLIN
wrote, "It looks like there is some discrepancy between the two Infectious Panel runs..." Both
panels were run on a 3.0 device, and he expected the same result from both runs. EDLIN raised
the issue with HOLMES and BALWANI because of the discrepant results. At various points in
the document, YOUNG suggested reference range changes. EDLIN recalled other instances
where YOUNG updated reference ranges, but he did not know why those changes were made and
said he had no reason to know. YOUNG was responsible for data analysis, and EDLIN's role at
this point in the process was to draft a demo report for YOUNG's and HOLMES' for review and
approval. EDLIN wrote, "Elizabeth--please advise on how to report the infectious panel results."
HOLMES was aware of this particular demo. EDLIN asked her how to report the results because
she gave final approval for all communication with outside parties. HOLMES wrote, "Agree on
the PA [Palo Alto} measles result. We'll only include that one from PA." HOLMES chose to
not report the conflicting results.

EDLIN reviewed document TS-0902539 to TS-0902540. He wrote, "Just caught up with Sunny.
He definitely wants to have a minilab, and then either a 4s or monobay (whichever is working
better)." BALWANI instructed EDLIN which devices he wanted prepared. Theranos' devices
that "worked better" changed over time. The device development was an on-going process and
each of those instruments were at various stages of readiness. Further in this document YOUNG
wrote, "Right now, we are not planning on running anything on the ML, unfortunately. The
general chemistry and ELISA assays are not performing adequately for a demo at the moment."
EDLIN said this statement from YOUNG was an example of periodic problems at Theranos.

EDLIN reviewed document THPFM0000068395 to THPFM0000068401. This document
consisted of an email chain around the time of a Walgreens executive visit and discussed
removing results from certain demo reports. At the time, Theranos' thyroid panel was not
performing well, and either HOLMES or YOUNG would have decided to remove results. Other
edits were made to the demo reports, and with the exception of typographical errors, EDLIN had
no insight as to why the changes were made. EDLIN understood an assay returned a range of
results for a healthy person, and anything "out-of-range" could indicate someone was unhealthy.
Out-of-range results were important if they were accurate, and looking back, EDLIN was
concerned if those results were removed without good reason. EDLIN emailed demo reports
until the process was moved into the LIS database. He was never instructed to provide any
explanation for missing results.

EDLIN reviewed document THPFM0000191037 to THPFM0000191041 and said he recalled a
second visit to Theranos by Walgreens executives. The Advia was a third-party device, not a
Theranos device. He did not know if the Advia was used often for demos and did not remember
if he knew what an Advia was at the time of this document. EDLIN did not know if the chart
contained in this document identified device was used for any given situation.

EDLIN reviewed document THPFM0002698493 to THPFM0002698497. The August 22, 2013
demo discussed in the document was for a Wall Street Journal reporter. EDLIN wrote, "For this
demo we will need to turn around results faster than ever before- ideally in 1 hour and no longer
than 2 hours." The typical goal for returning demo results was one day and this demo was
supposed to be run faster than ever previously done. EDLIN wrote further, "Unfortunately by the
looks of the Thyroid panel results below it appears to have had major issues again." This was not



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the first time EDLIN was aware of issues with the thyroid panel, and he understood BALWANI
was frustrated by this.

EDLIN reviewed document THPFM0001474818 to THPFM0001474823 and said he did not
understand what was meant by "Neat" or "1:1" referenced in the document. "Siemens protocol"
referenced Siemens, a device manufacturer separate from Theranos. EDLIN was not aware at the
time of this document Siemens devices were used for demonstrations and had no insight into the
process after the sample was passed to laboratory staff. He had no recollection of third-party
devices used after the Walgreens launch. Initially, demo samples were run in Theranos' lab. It
was uncommon in 2013 to run an analysis in the room. At some point in time, those samples
were run on a device inside the room where the demo took place. Samples were collected, placed
into a cartridge, put into a device, and then analyzed. EDLIN remembered that sometime after
2013, and certainly in 2015 and 2016, lab results were provided while the meeting was still
happening.

EDLIN reviewed document THPFM0000344512 to THPFM0000344514 and said he
remembered the demo referenced. "Tina" could be either Tina Lin (LIN) and Tina Noyes
(NOYES). This demo took place after the Wall Street Journal article critical of Theranos was
published. EDLIN was unsure of the relationship Dr. Ethan Weiss had with Theranos but knew
HOLMES met him at a Forbes conference. The goal of the demo was to compare Theranos'
fingerstick assays to venous drawn assays at Theranos, ARUP, and UCSF. The ideal outcome
was all results would match; however, the calcium and total protein results did not match and
were not reported. EDLIN wrote, "Root cause (from Tina) — The contamination of the CTN is
not due to any human error." This was Tina's technical opinion. However, HOLMES later
wrote, "You can say we do run those assays ,but were not able to run them on this sample,
apparently due to a human error in sample handling." HOLMES' instructions were to report the
error as human error. He did not remember receiving the specific email from HOLMES but
thought there was additional communication beyond what is contained in this document. He did
not recall BALWANI ever suggesting that Theranos should, "do the right thing."

EDLIN remembered one incident where HOLMES and BALWANI disagreed on what should be
reported (THPFM0000028223 to THPFM0000028237). He did not recall any other occasions
when they disagreed.

HOLMES was intimately involved with the DOD projects and introduced EDLIN to DOD
contacts by email. EDLIN's role was to oversee and manage the relationships. When EDLIN
received a request for information from someone within DOD, he either forwarded it to
HOLMES for review or they discussed it in-person. EDLIN than drafted a response, using
parameters and talking points she gave him, and sent it to HOLMES for her approval. HOLMES
did not participate in every telephone call. The DOD wanted to evaluate Theranos' technology
against existing equipment to see if it would operate effectively in-theater. Some of the testing
focused on different environments, ambient temperatures, and ability to withstand movement and
vibration. The goal was to use Theranos technology in the field. EDLIN knew Theranos devices
needed to pass certain tests before it was adopted by the DOD, and HOLMES knew this too
because they had many conversations about it.

A Theranos device was sent to Africa for evaluation by AFRICOM. The device was setup but
did not run any samples. EDLIN understood this testing process was part of the device's
evaluation. Devices were also deployed for use with the ABA research, but not used to make any



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clinical decisions. Theranos devices were never deployed to treat soldiers and never used to
make clinical decisions within the DOD.

HOLMES told EDLIN Theranos' relationship with the DOD did not develop further because it
would have required additional resources to execute those projects. Theranos would have had to
allocate people to develop assays, prepare devices, support the studies, and manage shipping,
inventory, and other logistics. Instead, Theranos focused their fmite resources on commercial
projects. HOLMES never said technology limitations stalled the DOD work.

EDLIN reviewed document TS-0324734 to TS-0324739 and said he recalled communication
with USASOC [USA Special Operations Command]. Part of the document referenced, "Device
function on board evacuation platforms." The intent was to see if Theranos' device could operate
on-board a medevac helicopter, but that never happened. DOD was eager to move forward with
the project and proposed a twelve-month evaluation period where Theranos sent examples for
evaluation. This was not clinical testing. EDLIN reviewed the document contained within titled,
"USASOC & Theranos, Inc." and said he prepared the document using content from other
PowerPoint presentations or internal Theranos documents. HOLMES reviewed and approved it
for transmission to DOD. HOLMES did not "rubberstamp" the approval and was intimately
involved with the project and cared about the details.

EDLIN took the information contained in the paragraph titled 'Background" at face value. TS-
0324738 stated, "Each Theranos device can run every test currently available through the
traditional centralized or hospital laboratory infrastructure." EDLIN again took this statement at
face value. He did not know what assays the Theranos device could run, but said it was designed
to run every test. If there was a business need, Theranos scientists could have developed assays
when the decision had been made and resources were dedicated to implement. Edison devices
only ran immunoassays, so any reference to running all tests referred to next-gen devices such as
the minilab or 4s. EDLIN did not know if those devices were ever used to make clinical
decisions. TS-0324738 also stated, "Theranos manufactures all of its technologies and systems
within the United States." He did not know why this was important but said the statement did not
apply to Siemens manufactured devices.

EDLIN reviewed document TS-0325082 to TS-0325161. Lieutenant Colonel Kevin Chung was
lead investigator of the ABA research project. This was the most developed DOD project, which
may have been completed and published. Clinical decisions were not made using Theranos
devices as part of this project. EDLIN was familiar with the PowerPoint presentation included
within this document and said he and others on the project management team prepared it.
HOLMES reviewed and approved the presentation.

    •   TS-0325088 stated, "Theranos' proprietary, patented technology runs comprehensive
        blood tests from a fmger-stick and tests from micro-samples of other matrices in real-
        time outside of traditional lab settings and generates significantly higher integrity data
        than currently possible." EDLIN did not remember the exact source of this statement, but
        said it existed in some presentation before he started at Theranos. He did not know if the
        statement was true but trusted it was.
    •   TS-0325091 described a high complexity laboratory under CMS regulation. EDLIN did
        not know at the time of this document which devices were used in Theranos' CLIA lab.
        As of the date of the interview, he did not know which devices were used in Theranos'
        CLIA lab.



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   •   TS-0325096 depicted an Edison device in the upper left corner of the slide, and a minilab
       tower directly next to it. The minilab tower was four to five feet tall.
   •   TS-0325097 stated, "...Theranos analyzers run any test available in central laboratories."
       EDLIN trusted this statement was true.
   •   TS-0325106 stated, "Theranos Systems have been comprehensively validated over the
       course of the last seven years by ten of the fifteen largest pharmaceutical companies, with
       hundreds of thousands of assays processed." EDLIN did not know if Theranos' systems
       had been comprehensively validated. This statement already existed in some form when
       he started at Theranos. He did not believe the statement was true at the time of the
       interview. While gathering documents for the Roger Parloff interview, EDLIN did not
       remember seeing documents from ten different pharmaceutical companies, but he was
       unsure of his recollection.

EDLIN reviewed document TS-0328135. Colonel Erin Edgar was part of CENTCOM and
probably the first person HOLMES introduced to EDLIN. CENTCOM planned a technology
evaluation and was eager to review Theranos technology. EDLIN said a recurring theme was the
DOD was eager and ready to move forward while Theranos was slow. Some DOD contacts were
frustrated with Theranos' pace and wanted the projects to move more quickly.

EDLIN reviewed document TS-0297864 to TS-0297869. EDLIN believed the limited objective
experiment (LOE) discussed in this document was for a technical evaluation of Theranos' device
and not for any intended medical use. EDLIN remembered discussions about funding for fiscal
year 2014 and said the window for Theranos to deliver was closing. This put increased pressure
on the company to meet a specific date since FY 2013 had been written off. HOLMES, with
input from YOUNG, proposed an August 1, 2014 delivery date and relayed the information to
EDLIN. Theranos did not meet the deadline.

EDLIN recalled three Theranos devices were shipped to a military base in Kentucky to meet a
contractual delivery deadline with SOCOM to avoid default. Per SOCOM, the devices needed to
be reviewed. The devices were shipped for technical evaluation, not for making medical
decisions. EDLIN and ANEKAL prepared the devices for shipment. EDLIN said that even
though three devices were shipped, device development continued at Theranos and they may have
had to ship new, updated devices when the evaluation started. Theranos personnel were to travel
to Kentucky to train SOCOM personnel and to run the devices. The second group of devices
were never sent and there was no further follow-up. No one from Theranos ever travelled to
Kentucky and the evaluation did not happen.

EDLIN reviewed document THPFM0000610205. HOLMES instructed EDLIN and others to not
mention DOD work with a policy reporter. EDLIN said there was no internal tension regarding
publicity of Theranos' work with DOD, rather it was simply instruction to not say anything to
anyone outside of Theranos. EDLIN believed the document was created around the time James
Mattis (MATTIS) joined the Board of Directors, and there was some confusion about not
discussing work with the DOD, while MATTIS' appointment suggested otherwise.

EDLIN learned his senior year of college that HOLMES and BALWANI were in a romantic
relationship.

EDLIN's desk was outside of HOLMES' and BALWANI's offices, and he worked directly with
both. HOLMES took more responsibility over the areas of science, technology, marketing,
communications, and the vision of the company. She was also the face of Theranos. BALWANI


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took more responsibility for software and operations. While they may have shared authority and
deferred to one another, HOLMES was the CEO and EDLIN believed she was the ultimate
authority at the company.

We took a break from 3:06 P.M. to 3:14 P.M.

The interview ended at 4:32 P.M.


chri,s-tv-pker MS
Christopher McCollow                                                   August 26, 2021
U.S. Postal Inspector                                                        Date


Attachments:

THPFM0002270863 to THPFM0002270864
TS-0375316
THPFM0001578878
THPFM0000028301 to THPFM0000028303
THPFM0000028223 to THPFM0000028237
TS-0902539 to TS-0902540
THPFM0000068395 to THPFM0000068401
THPFM0000191037 to THPFM0000191041
THPFM0002698493 to THPFM0002698497
THPFM0001474818 to THPFM0001474823
THPFM0000344512 to THPFM0000344514
TS-0324734 to TS-0324739
TS-0325082 to TS-0325161
TS-0328135
TS-0297864 to TS-0297869
THPFM0000610205




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